                 IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                     CIVIL CASE NO. 1:16-cv-00277-MR
              [CRIMINAL CASE NO. 1:13-cr-00077-MR-DLH-4]


DEBBIE OLLIS WEBB,               )
                                 )
              Petitioner,        )
                                 )                 MEMORANDUM OF
vs.                              )                 DECISION AND ORDER
                                 )
UNITED STATES OF AMERICA,        )
                                 )
              Respondent.        )
________________________________ )

         THIS MATTER is before the Court on Petitioner’s Motion under 28,

United States Code, Section 2255 to Vacate, Set Aside, or Correct Sentence

by a Person in Federal Custody [Doc. 1]. For the reasons that follow, the

Court dismisses the petition.

                            PROCEDURAL HISTORY

         On March 3, 2015, Petitioner was convicted in this Court, following a

guilty    plea,   of   conspiracy   to   possess    with   intent    to   distribute

methamphetamine, in violation of 21 U.S.C. §§ 841 and 846. [Crim. Case

No. 1:13-cr-00077-MR-DLH-4 (“CR”), Doc. 151: Judgment].

         In preparation for Petitioner’s sentencing hearing, the probation office

prepared a presentence investigation report (“PSR”), calculating a total



   Case 1:13-cr-00077-MR-WCM        Document 176    Filed 08/22/16   Page 1 of 5
offense level of 29, and a criminal history category of I, yielding an advisory

sentencing guidelines range of 87 to 108 months of imprisonment. [CR Doc.

112 at ¶ 75: PSR]. Petitioner faced a statutory mandatory minimum term of

10 years and a maximum term of life imprisonment under 21 U.S.C. §§

841(b)(1)(A). [Id. at ¶ 74]. However, the parties agreed that if Petitioner met

the criteria set forth in 18 U.S.C. §§ 3553(f)(1)-(5), the Court would impose

a sentence in accordance with the applicable guidelines without regard to

any statutory minimum sentence. [Id.]. On February 27, 2015, this Court

sentenced Petitioner to 57 months’ imprisonment. [CR Doc. 151]. Judgment

was entered on March 3, 2015. [Id.]. Petitioner did not appeal.

      Petitioner placed the instant motion in the prison mailing system on

July 21, 2016, and it was stamp-filed in this Court on August 11, 2016. [Doc.

1]. Petitioner does not indicate clearly what claim she intends to bring in her

motion to vacate. That is, at the top of the first page of her motion to vacate,

she has handwritten the words “minor role.” [Id. at 1]. She then states in the

petition the following in support of her claim: “This motion was just made

available to us. I would like to see if I’m eligible.” [Id. at 4]. Other than this,

Petitioner does not indicate anywhere in the petition what claim or claims she

is purporting to raise.




                                        2

   Case 1:13-cr-00077-MR-WCM       Document 176     Filed 08/22/16   Page 2 of 5
                         STANDARD OF REVIEW

      Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions to

vacate, along with “any attached exhibits and the record of prior proceedings”

in order to determine whether a petitioner is entitled to any relief. After

having considered the record in this matter, the Court finds that no response

is necessary from the United States. Further, the Court finds that this matter

can be resolved without an evidentiary hearing. See Raines v. United States,

423 F.2d 526, 529 (4th Cir. 1970).

                               DISCUSSION

      It is not clear what claim or claims Petitioner purports to bring. She

may be attempting to argue that Amendment 794 to U.S.S.G. § 3B1.2 makes

her eligible for a minor role adjustment to her sentence. Amendment 794

was enacted on November 1, 2015, and it sets out new guidelines for

determining whether a defendant should be granted a minor role reduction

under U.S.S.G. § 3B1.2. To the extent that Petitioner seeks a reduction in

her sentence based on Amendment 794, Petitioner must seek such relief on

this claim, if at all, by filing a motion for reduction of her sentence in her

criminal case. See United States v. Jones, 143 F. App’x 526, 527 (4th Cir.

2005) (holding that the district court erred in construing the petitioners’


                                      3

   Case 1:13-cr-00077-MR-WCM     Document 176    Filed 08/22/16   Page 3 of 5
motions under 18 U.S.C. § 3582(c)(2) for reductions in sentence based on

retroactive application of Amendment 591 as Section 2255 motions); Ono v.

Pontesso, No. 98-15124, 1998 WL 757068, at *1 (9th Cir. Oct. 26, 1998)

(noting that a request for a modification of a sentence pursuant to an

Amendment to the Sentencing Guidelines “is most properly brought as a

motion under 18 U.S.C. § 3582”); see also United States v. Mines, No. 3:09-

cr-106-HEH, 2015 WL 1349648, at *1 (E.D. Va. Mar. 4, 2015) (stating that,

to the extent that the petitioner “seeks a reduction in sentence pursuant to

any amendment to the United States Sentencing Guidelines, he must file a

separate motion for reduction of sentence pursuant to 18 U.S.C. § 3582”).

Because Petitioner has not clearly articulated the claim or claims she intends

to bring in this motion to vacate, the Court will dismiss this action without

prejudice.

                               CONCLUSION

      For the reasons stated herein, the Court will dismiss the Section 2255

petition without prejudice.

      The Court finds that Petitioner has not made a substantial showing of

a denial of a constitutional right. See generally 28 U.S.C. § 2253(c)(2); see

also Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy §

2253(c), a “petitioner must demonstrate that reasonable jurists would find the


                                      4

   Case 1:13-cr-00077-MR-WCM     Document 176    Filed 08/22/16   Page 4 of 5
district court’s assessment of the constitutional claims debatable or wrong”)

(citing Slack v. McDaniel, 529 U.S. 473, 484-85 (2000)). Petitioner has failed

to demonstrate both that this Court’s dispositive procedural rulings are

debatable, and that the Motion to Vacate states a debatable claim of the

denial of a constitutional right. Slack v. McDaniel, 529 U.S. 473, 484-85

(2000). As a result, the Court declines to issue a certificate of appealability.

See Rule 11(a), Rules Governing Section 2255 Proceedings for the United

States District Courts, 28 U.S.C. § 2255.

                                  ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s Motion to Vacate

[Doc. 1] is DISMISSED WITHOUT PREJUDICE.

      IT IS FURTHER ORDERED that the Court declines to issue a

certificate of appealability.

      IT IS SO ORDERED.           Signed: August 22, 2016




                                        5

   Case 1:13-cr-00077-MR-WCM      Document 176         Filed 08/22/16   Page 5 of 5
